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§ 01/19!20§1
‘“ cr Log Number 517905317

  

To: Hattie Booth
Aflst.ate insurance Company
2775 Saacfers Road, Corp Litigation ~Aé
Northbmo§<_, ii_ 60062-6€2?

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F¢>R: ALLSTATE PROPERTY AND CASUALTY ENSURANC£ COMPANY (Domestic State: !L}

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Name discrepancy noted

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Case # C19379

MTunE or Ac'rmu: lnsurance Li:igation ~ Pc\licy benefits c§aimed for progeny damages caused by fire

on whom wmc§ss ms seaviv= C T formation Sys:em, Knoxvil§e, TN

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APPEARA.N¢.'.E on huxman nuE: Wi§hin 39 days afzer service of the summons, exclusive of she date of service
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423 N‘ §-§i bland Avenue
Jac§<.son, N 38301
731 ~422»6895

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Emai§ Notification, Bili B¢)Udz'o wbocdm@allstate.<:om
Emai§ Notif'ica‘;ion, Hattie Boot.h HBOOTH@ALLSTAT£.COM

szGNEa: C T Curporaticm Sys€em
swing Amy McLaz'en
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STATE OF TENNESSEE
Department of Commerce and Insurance
500 James Robertson Parkway
Nashvi|le, TN 37243-1131
PH - 615.532.5260, FX - 615.532.2788

brenda.meade@tn.gov
January 14, 2011
A||state Property & Casualty ins Co ` Certified N|ai| _ `
800 S. Gav Street. Ste 2021, % C T Corp. ' Return Receipt Reouested
Knoxvil|e, TN 37929-9710 7009 3410 0002 1677 3273
NA|C # 17230 Cashier # 1203

Re: Harris & Edwards V. ~A|lstate Property & Casua|ty Ins Co

Docket # C-10-3?9

To Whom lt N|ay Concern:

Pursuant to Tennessee Code Annotated §56-2-504 or § 562-506, the Department of
Commeroe and lnsurance was served January10, 2011, on your behalf in connection with th
above-styled proceeding Documentation re|ating to the subject is herein enclosed -

Brenda C. Meade
Designated Agent
Service of Process

Enciosures

cc: Circuit Court C|erk
N|adison County
' 515 South Liberty
Jackson, Tn 38301

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TH:E ST'ATE OF TENN_ESSEE MBDJ;SQ_N COUNTY
cIRcUI'r COURT

M€lvin Harrls r Summons in a Civil Acrion

Elese Harris NO_ C"lO'%/? l

Bernice Edwards

 

Plaintiff{s)
Vs.
MLSBLLB@MtV and C/O Commissioner of Insurance
Mln§n;apgg_§gl_____ 500 James Rohertson Pkwy.

 

Nashyj |]_Q, TN 37243_‘-113].

 

 

 

To tlie above named defendant (s):

Yon are hereby summoned and required 10 answer, in writing, the complaint which 1s herewith served upon

you, and to serve a copy of same upon Nathan B Prlde who' is plaintiffs

Attorne:y, whose address 15 4 23 N v Highland Ave f Jackson ' TN 3 BMHin thiny (3 0) days

ai’cer service of this summons upon you, exclusive of the date of service If you fail to do so ,judgment by default
will be taken against you for the relief demanded 111 the complaint

Issuedthis Zq day of DMQW ,.+2010
ADA
éLREr 101 Hlvrloaslslunnn W“H'H B[M° +’C'erk

OUl RE A$Sl lSTANCE PLEASE CALL

l
Defendant(s) Adclress i
i

mlS?rM

Deputy Clerk

 

 

RETURN ON SERVICE OF SUMMONS

l hereby certify and return that on the _,__ day of

, 20_, I served this summons together
with a copy of the complaint herein as follows:

 

 

 

 

 

Sherif`f

 

Deputjf Sheriff

h _, _Cast1:11-CV-0104O-.]DB-egb Document 1-2 Filed 02/14/11 Page4of8 Page|DQ

ATHAN B. PR|DE‘.
AT'I`ORNEY AT L.AW
aa N. chHLAND Ave.
)Ac»<soN. 'rN seem

(73|)424-4095

IN THE CIRCU]T COURT OF MADISON COUNTY, TENNESSEE
AT JACKSON

 

 

MELVIN HARRIS, ELESE HARRIS
and BERNICE EDWAR_DS, DEC 2 9 2010

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Plaintift`s,

P.M.

l\/s. l R.D..No. CjIO'“Z/]Q

 

ALLSTATE PROPERTY and
CAsUALrY INSURANCE Co., Ol/.dyz W@K
Defendant.
COMPLAINT

 

 

 

Comes now, the Plaintiffs and sues the Defendant for breaches
occurring under the policy of homeowner’s insurance that was issued to the
Plaintiffs and they Will show unto this Honorable Court as follows:

l. That Melvin Harris, Elese Harris and Bernice Edwards, are the
owners of a house and lot located at 87 Labelle Street, Jacl<son,

Madison County, Tennessee.

2. That they'are the owners of the property as tenants in common and

were at all times relevant to this Complaint. That all acts occurred in

Madison County, Tennessee.

3. That the Plaintii`f’s acquired a policy of homeowner’s insurance on

the property and did retain the Defendant, Alistate Property and Casualty

Insurance Company to issue said policy. That said policy, upon information
and belief, bears policy number 000955977448 and Was in force at all times
relevant to this proceeding

 

 

Casq

 

 

 

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That Allstate Property and Casualty Insurance Company is a foreign
insurance corporation, authorized to do business in Tennessee and did so at
all time relevant to this proceeding

_ 4. That among other things, said policy of insurance insured the
dwelling itself, it insured the personal property and contents and also had
provisions for loss of use, all of which were in full force and effect at the
time relevant to this proceeding

5. That Allstate Property and Casualty Insurance Cornpany was
aware of the policy of insurance upon the property located at 87 Labelle
Street, Jackson, l\/Iadison County, Tennessee, and was obligated to pay under
the policy and provisions

6. That on or about January IO, 2010, a fire occurred at the dwelling
at 87 Labelle Street, Jackson, l\/Iadison County, Tennessee. That said house
was totally destroyed by iire, including all of its contents. That the
Defendant, Allstate Property and Casualty Insurance Company Was given
notice of this fire and the losses sustained by the Plaintiffs.

7. That Allstate Property and Casualty Insurance Cornpany,
hereinafter referred to as “Allstate”, insured the Plaintiffs’ dwelling against
loss or injury by fire and others perils and policy of fire insurance, again,
was in full force and effect on or about January 10, 201(}.

8. That although the Plaintiffs have performed all requirements
precedent to their right of recovery under said policy of fire insurance, the
Defendant has failed and refused to make payment to the Plaintiffs. That
failure of the Defendant to pay the Plaintiffs is and has been without
justification and the payment is being withheld from the Plaintiffs. That'the
Plaintiffs assert that they are entitled to the full value of the policy of the
house, personal property, the contents including furniture, clothing and other
such items as a loss of use for the same. '

9. That failure of the Defendants to pay the Plaintiffs is and has been
without justification and the payment is being withheld from the Plaintiffs in
bad faith as such as that the Plaintiffs are entitled to recovery in addition to
the amount of the policy for all their losses, they believe they are entitled to

an additional amount equal to 25% of the face amount of the policy pursuant
to TCA 56-7-105.

 

 

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lO. That Plaintiffs assert that the failure of the Defendant, Allstate to
provide payment under the policy is a breach of their contract of insurance, a

` breach of their agreement to insure the same and to pay the policy upon due

notice of the loss and consequentially, their failure to do so is tantamount to
breach of contract and breach of their duty.

l l.That at the time of the `fire, the Plaintiffs had mortgaged the
property to First National Acceptance Company. 'l`hat upon the Court’s
finding that the Defendant has breached its duty to pay under the policy of
insurance that was in force by Allstate at the time of the fire loss, the Court
should require the payment to be made to First National Acceptance
Company for satisfaction of any lien or mortgage that they may have against
said property as an additional loss payee upon the policy and its provisions

WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS PRAY:
l. That they be allowed to file this action.

2. That the Defendant be given due notice of the same and required to
appear and give answer to this Complaint.

3 . That the Court conduct a Hearing upon the merits of this
Complaint at which time, the Court enter a judgment against the Det`endant,
Allstate Property and Casualty lnsurance Company for the amount of the
policy limits as to the dwelling, the amount of policy limits for the personal
property, amount of policy limits for the loss of use and all other provisions
of the insurance policy in force and effect at the time of the .loss, in the
amount of 3134,400.

4. That the Court require payment to First National Acceptance
Company, an additional loss payee upon the policy pursuant to the policy
and contract of insurance in full force and effect at the time of the loss.

5. That the Plaintiffs be given all other relief to which they may be
entitled and the proof may dictate including but not limited to pre-judgment

and post-judgment entrance, Attorney’s, fees and court costs.

6. That a JURY be impaneled hear this matter.

 

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RESPECTFULLY SUBl\/IITTED Tl-HSj 13 DAY § l §§Zg[j§iilj/g , , 2010,

j .

T N B. PRIDE
Attorney for Plaintiffs
423 l\l. Highland Avenue
Jackson, TN 38301
(731) 422-6895

COST BOND

I, NATHAN B. PRIDE, SURETY ,_ do hereby acknowledge myself as

alan ar

iranian B, PRIDE, ATTURNEY sURETY

surety for court cost.

 

 

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